Case 1:22-cv-22538-RKA Document 109 Entered on FLSD Docket 02/23/2023 Page 1 of 5




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                               CASE NO. 22-CV-22538-ALTMAN/Reid

     PIERCE ROBERTSON, et al., on behalf of
     themselves and all others similarly situated,

                       Plaintiffs,

     v.

     MARK CUBAN, et al.,

                       Defendants.
                                                         /



                     JOINT MOTION FOR A 30-DAY STAY OF THE CASE

          Plaintiffs, PIERCE ROBERTSON, et al., and Defendants, MARK CUBAN and DALLAS

  BASKETBALL LIMITED d/b/a Dallas Mavericks (collectively “the Parties”), by and through

  their undersigned counsel, respectfully request the Court to enter a 30-day stay of all activity in

  the case, and state as follows:

          1.     Plaintiffs filed this action on August 10, 2022 [ECF No. 1] and filed an Amended

  Complaint on October 28, 2022 [ECF No. 34].

          2.     Defendants filed a Motion to Dismiss on November 18, 2022 [ECF No. 41].

          3.     On December 7, 2022, the Court entered an Order [ECF No. 58] setting forth a trial

  and pre-trial schedule (the “Scheduling Order”). On February 8, 2023, the Court issued an Order

  [ECF No. 105] altering the deadlines set forth in the Scheduling Order, moving back the deadlines

  for the exchange of expert reports and rebuttal expert reports.

          4.     On January 1, 2023, the Court entered an Order [ECF No. 72] granting Plaintiffs’

  request to extend the deadline for responding to Defendants’ Motion to Dismiss and ordered that
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Case 1:22-cv-22538-RKA Document 109 Entered on FLSD Docket 02/23/2023 Page 2 of 5

                                                           CASE NO. 22-CV-22538-ALTMAN/Reid


  “Plaintiffs shall either respond to the Defendants’ Motion to Dismiss [ECF No. 41] or file an

  Amended Complaint by February 24, 2023,” which is tomorrow.

         5.       The parties request that the Court stay all discovery, motion practice, and all other

  activity in this case for 30 days. Further, the parties request the Court extend for 30 days all

  discovery deadlines and the deadline for Plaintiffs’ class certification motion, as set forth in the

  Court’s December 7, 2022 Scheduling Order, as amended through the Court’s February 8, 2023

  Order [ECF No. 105] and the January 1, 2023 Order [ECF No. 72].

         6.       A 30-day extension of discovery deadlines and the deadline for Plaintiffs’ class

  certification motion, as set forth in the Scheduling Order, as amended through the Court’s February

  8, 2023 Order [ECF No. 105] and the January 1, 2023 Order [ECF No. 72] extending Plaintiffs’

  deadline to respond to the Motion to Dismiss or seek leave to file a second amended complaint,

  will result in the following revised schedule:

              •   February 24, 2023 March 27, 20231 – Plaintiffs shall respond to Defendants’
                  Motion to Dismiss or seek leave to file a second amended complaint.

              •   May 31, 2023 June 30, 2023 – The parties shall exchange expert witness summaries
                  or reports.

              •   June 14, 2023 July 14, 2023 – The parties shall exchange rebuttal expert witness
                  summaries or reports.

              •   July 5, 2023 August 4, 2023 – All discovery, including expert discovery, shall be
                  completed.

              •   July 19, 2023 August 18, 2023 –Plaintiffs shall file a motion for class certification.

         WHEREFORE the Parties respectfully request the Court to stay the case for 30 days.

  Dated: February 23, 2023.                              Respectfully submitted,


  1
   Where a thirty-day extension would result in a weekend or holiday deadline, the deadline would
  be set for the next business day following the weekend or holiday. Thirty days from February 24,
  2023 would be Sunday, March 26, 2023; therefore, the filing would be due on Monday, March 27,
  2023.
Case 1:22-cv-22538-RKA Document 109 Entered on FLSD Docket 02/23/2023 Page 3 of 5




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                                        3
Case 1:22-cv-22538-RKA Document 109 Entered on FLSD Docket 02/23/2023 Page 4 of 5




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                                            4
Case 1:22-cv-22538-RKA Document 109 Entered on FLSD Docket 02/23/2023 Page 5 of 5

                                                            CASE NO. 22-CV-22538-ALTMAN/Reid



                                     CERTIFICATE OF SERVICE

            I hereby certify that a true and correct copy of the forgoing was filed on February 23, 2022,
  with the Court via CM/ECF system, which will send notification of such filing to all attorneys of
  record.


                                                          By: /s/ Stephen Neal Zack
                                                                Stephen Neal Zack
